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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


SHANNON E. HALL, AS
ADMINISTRATOR OF THE ESTATE OF
ELI GREY HALL,
                                                         Civil Action No. 1:22-cv-00071
                              Plaintiff,
                                                         Hon. John J. Tharp, Jr.
       v.

ABBOTT LABORATORIES,

                              Defendant.



               DEFENDANT ABBOTT LABORATORIES’ MOTION
         TO REASSIGN RELATED CASES PURSUANT TO LOCAL RULE 40.4

       Defendant Abbott Laboratories (“Abbott”), by its attorneys, and for its Motion To Reassign

Related Cases Pursuant to Local Rule 40.4 states as follows:

       1.      Pursuant to Local Rule 40.4(c), Abbott moves to reassign to this Court three related

cases: (1) Gschwend v. Abbott, No. 1:22-cv-00197 (Judge Rebecca Pallmeyer); (2) Taylor v.

Abbott, No. 1:22-cv-00203 (Judge Sharon Johnson Coleman); and (3) Stuper v. Abbott, No. 1:22-

cv-00204 (Judge Robert W. Gettleman). The removal papers, complaint, and civil cover sheet for

each of these cases are attached hereto as Exhibit 1 (Gschwend); Exhibit 2 (Taylor); and Exhibit 3

(Stuper), as required under Local Rule 40.4(c).

       2.      Each lawsuit asserts that a premature infant was administered Abbott’s preterm

infant nutrition products in a hospital, where the infant developed an inflammatory disease of the

gastrointestinal tract known as NEC and passed away. Each complaint asserts the same three
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causes of action—design defect, negligence, and failure to warn—based on the same assertion that

the same group of products caused the same disease.

       3.      Because common issues of law and fact predominate across the cases, and because

all four cases are in their early stages, reassignment is appropriate. The significant commonalities

in these cases—and the anticipated overlaps with respect to discovery (particularly on Abbott) and

with respect to potentially outcome-determinative legal issues (including general causation and

preemption defenses)—would result in significant judicial savings.

       4.      In further support of this motion, Abbott has submitted a Memorandum of Law,

which sets forth the “points of commonality of the cases in sufficient detail to indicate that the

cases are related within the meaning of [Local Rule 40.4(a)], and indicate[s] the extent to which

the conditions required by [Local Rule 40.4(b)] will be met if the cases are found to be related.”

       WHEREFORE, for the reasons set forth above and more fully in the accompanying

memorandum, Abbott respectfully requests that the Court grant its Motion and enter an order

finding that Gschwend, Taylor, and Stuper should be reassigned to this Court.


 Dated: January 28, 2022                       Respectfully submitted,

                                               By: /s/ Stephen V. D’Amore
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 28th day of January 2022, the foregoing document was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing

will be sent by e-mail to all parties by operation of the Court’s electronic filing system or by mail

to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties

may access this filing through the Court’s CM/ECMF System.


                                                       /s/ Stephen V. D’Amore
                                                       Stephen V. D’Amore
                                                       Attorney for Abbott Laboratories




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